
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant, a former inmate at the Eastern Regional Jail, seeks to recover $62.00 for an identification wallet that he alleges was misplaced by respondent. Claimant had the wallet when he was booked at the Eastern Regional Jail on March 26, 2008, but he did not have the wallet when he was released on July 8, 2008.
In its Answer, respondent admits the validity of the claim and that the amount is fair and reasonable. The Court is aware that respondent does not have a fiscal method for paying claims of this nature; therefore, the claim has been submitted to this Court for determination.
This Court has taken the position in prior claims that if a bailment situation has been created, respondent is responsible for property of an inmate which is taken from that inmate, remains in its custody, and is not produced for return to the inmate.
Accordingly, the Court makes an award to the claimant herein in the amount of $62.00.
Award of $62.00.
